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?j.
IN THE UNITED STATES DISTRICT COURT QS’*'¢/@/ Q

 

FOR THE WESTERN DlsTRICT oF TENNESSECE?» j 4/,& ch
EASTERN DIvIsloN "”;”¢f §'~" fig "JJ
LILLIE LEMIRE,
Plaintiff,
VS. No. 03-1304-T/An

REITTER & SCHEFENACKER,

\_/\_/\_/\-/\..,/\_/\¢_/\\_/\_/

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

 

PlaintiffLillie Lemire, a former employee of the defendant, Reitter & Schefenacker,
filed this action alleging sexual harassment pursuant to Title VII of the Civil Rights Act of
1964, 42 U.S.C. § 2000e et seq., as amended, and the Tennessee Human Rights Act
(“THRA”), Tenn. Code Ann. § 4-21-101 et seq. Plaintiff also asserts a claim of intentional
infliction of emotional distress under Tennessee law. The defendant has filed a motion for
summary judgment and the plaintiff has responded.

Motions for summary judgment are governed by Fed. R. Civ. P. 56. If no genuine
issue of material fact exists and the moving party is entitled to judgment as a matter of law,
summaryjudgment is appropriate Fed. R. Civ. P. 56(c). The moving party may support the
motion for summary judgment With affidavits or other proof or lby exposing the lack of

evidence on an issue for Which the nonmoving party Will bear the burden of proof at trial.

This document entered on the docket e In compliance
with mae 58 and,'or_rs (a) FncP on _E_DJ_I_QS_

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Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but must go beyond the pleadings and “by affidavits or as otherwise provided
in this rule, must set forth specific facts showing that there is a genuine issue for trial.” Fed.

R. Civ. P. 56(e); see also Celotex Corp., 477 U.S. at 323.

 

“lfthe defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs
position will be insufficient; there must be evidence on which thejury could reasonably find
for the plaintiff.” Anderson v. Libertv Lobbv, Inc., 477 U.S. 242, 252 (1986). However,
the court's function is not to weigh the evidence, judge credibility, or in any way determine
the truth of the matter but only to determine whether there is a genuine issue for trial. I_d. at
249. Rather, “[t]he inquiry on a summary judgment motion . . . is . . . ‘whether the evidence
presents a sufficient disagreement to require submission to a [trier of fact] or whether it is
so one~sided that one party must prevail as a matter of law.”’ Street v. J.C. Bradford & Co..
886 F.2d 1472, 1479 (6th Cir. 1989) (quoting Anderson, 477 U.S. at 251-52). Doubts as to
the existence of a genuine issue for trial are resolved against the moving party. Adickes v.
S. H. Kress & Co., 398 U.S. l44, 158-59 (1970).

ln her complaint, plaintiff alleges that she was sexually harassed by three co-workers,
Alan Leonard, Corey Porter and Jesse James (“J.J.”) Jacob. In her deposition, plaintiff
testified that she was harassed by Alan Leonard three times, on April 2, April 16, and April

29, 2003. Corey Porter, allegedly harassed plaintiff once in February 2003, and then put his

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arm around her on July l7, 2003. J.J. Jacob allegedly harassed plaintiff in October 2003.
Plaintiff alleges that although she reported the harassment to her superiors, no corrective
action was taken.

The evidence in the record shows that the defendant, a Michigan limited partnership
that supplies automotive lighting products and components to automobile manufacturers,
has a manufacturing facility located in Selmer, Tennessee. (lSl Churchwell Aff. jj 2.)
Plaintiff became a permanent employee at that facility on July l7, 2001. During her
employment, plaintiff primarily worked on the Mercedes Benz line assembling parts for
exterior mirrors. (Pl.’s Dep. at 88-89.)

At the time of her hiring or shortly thereafter, plaintiff received a copy of defendant’s
Employee Handbook and signed an attendance form acknowledging attendance at
defendant’s training on that handbook. (Pl.’s Aff. 1[ 2.) The handbook contained a sexual
harassment policy which provided that any employee who believed he or she had been
subjected to sexual harassment should file a written complaint with the Manager of Human
Resources or any other member of the Human Resources department, the l\/lanaging
Director, or the Director of l\/fanufacturing. (lSt Churchwe]l Aff., Ex. l .) The policy further
provided that a manager or supervisor who became aware of any sexual harassment should
report it to the Manager of Human Resources and take appropriate corrective action I_d.

Plaintiff testified in her deposition that in February 2003, co-worker Corey Porter

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wanted her to go to a nearby motel and have sex with him. (Pl.’s Dep. at 127-28.)1 Plaintiff
testified that she was “pissed” about the comment and told Porter “it would never happen.”
(Pl.’s Dep. at 129.) On the first day of her deposition, plaintiff testified that she never
reported that February incident. (Pl.’s Dep. at 131.) However, on the second day of her
deposition, plaintiff testified that she reported the incident when it happened to Paula
Hughes in the Human Resources department (Pl.’s Dep. at l79.)

On l\/larch 3, 2003, plaintiff filed a complaint against three female co-workers for
making fun ofa personal problem she was having. (Pl.’s Dep. at 30, 35-37.) Thereafter,
plaintiff began to experience various conflicts with her co-workers. (Pl.’s Dep. at 37.)
Consequently, she started keeping a diary in which she documented many of the events and
conversations that occurred at work. (Pl.’s Dep. at 38-39; Def.’s l_\/Iem. Ex. C.)

Plaintiff testified that on April 2, 2003, co-worker Alan Leonard allegedly asked her
to raise her jacket, which she had tied around her waist, “so he could see my ass.” Plaintiff
refused, then turned around and walked off. Plaintiff testified that she reported this incident
when it happened to Paula Hughes in Human Resources. (Pl.’s Dep. at lll-l4.) On April
16, 2003, another incident occurred with Leonard, although plaintiff testified that she could
not remember the details. In her diary, however, she documented the event:

l l :55 AM I had walked over to the water cooler by maintance [sic]. l had

to fill up my water bottle. Allen [sic] Leonard says, I see you

got the black jacket off around your waist. Now I can see what
you got. Allen [sic] says, Nice _a§ l

 

l Porter denies plaintiffs allegationsl (Porter Aff., p. 3.)

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(Def.’s Mem., Ex. C, p. 0004.) Plaintiff testified that she said something about this April
16 incident to J.J. Jacoh, (Pl.is Dep. at l l7-18), but did not report it to anyone else at the
time. (Pl.’s Dep. at 122.) The last incident involving Leonard occurred on April 29, 2003.
ln her diary, plaintiff wrote:

Allen [sic] Leonard came up to me at Station 2A Mer. Ext. right hand. Allen

said: I see your [sic] not wearing your black jacket. Allen said “where [sic]

you afraid that Lori Plunk was going to pinch your ass. l said you are awful

Allen. Allen said: Did you know that she was gay. l don’t know Allen.

Allen asked, “Me” Are you that way. I said, what are you trying to say. Allen

said, I’m not trying to say anything l’m sure your [sic] not Allen. I said bye

Allen.

(Def.’s Mem., Ex. C, p. 0004, 0014.) Plaintiff testified that she reported this incident on
July 15, 2003 during a meeting with the Human Resources Manager, Mark Ivey. (Pl.’s Dep.
at 122.)

On July 6, 2003, plaintiff signed a complaint of discrimination with the EEOC, in
which she complained only about general harassment, not sexual harassment, by her
co-workers. (Def.’s l\/lem., Ex. D.) Plaintiff met with an EEOC investigator on July 10,
2003 for an interview. The investigator’s notes from that interview reflect “no cause” for
a charge. Specifically, the notes show that plaintiff claimed she was being harassed by her
female co-workers because they were talking about her personal business The EEOC
investigator’s notes further reflect that plaintiff Was told that such general harassment was

not a “covered basis” under Title VII, and that plaintiff did not file a formal EEOC charge

at that time. (Def.’s Mem., Ex. E.)

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On July 12, 2003, plaintiff was involved in a verbal altercation with a co-worker,
Jennifer King, while working on the i\/Iercedes line. The incident was investigated by lvey,
the Human Resources Manager. ln his affidavit, Ivey states that during his investigation,
piaintiff’ s co-workers complained about the problems her personality conflicts were causing
on the line, and that plaintiff was not pulling her weight. Ivey then met with plaintiff and
her supervisor, Jason Rodotz, on July 15, 2003. lvey’s documentation of that interview
reflects that plaintiff expressed the belief that everyone was out to get her and that nobody
liked her. (]vey Aff. W 2-4, Ex. 2.)

Also during the July 15, 2003 meeting with lvey, plaintiff reported the April 2, 2003
incident with Leonard, stating that she believed she had been sexually harassed Plaintiff
signed a brief statement regarding that harassment (Ivey Aff. iljl 8-9, Ex. 4.) When asked
why she had not reported the incident earlier, plaintiff told Ivey that she felt it would not
have done any good. She told him that she had reported the incident only to her line leader,
J.J. Jacob. (lvey Aff. il 10.)

ivey states in his affidavit that he met with Leonard about plaintiff s allegation, which
Leonard denied. Ivey advised Leonard that the complaint was serious and that sexual
harassment would not be tolerated. He reviewed with Leonard the company’s sexual
harassment policy and warned him that the situation would be monitored and that any further
reports of misconduct would result in disciplinary action. Leonard also was warned not to

retaliate against the plaintiff (Ivey Aff. jljl ll-l3.)

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()n July 17, 2003, plaintiff reported to Ivey that Corey Porter had put his arm around
her. When Ivey and Jason Rodotz met with Porter the next day, Porter said that he meant
nothing by his action, and would not do it again. Ivey reminded Porter of the company’s
policy against sexual harassment and warned him not to touch plaintiff again. (lvey Aff.
M 16-18, Ex. 5.)

On approximately July lS, 2003, plaintiff faxed to the EEOC copies of her diary
entries documenting the alleged harassment by Leonard in April 2003. A formal charge of
harassment was filed on August 19, 2003. The charge states:

l have experienced harassment from my co-workers. The harassment

consisted of comments and jokes made concerning my personal problems.

The managers and supervisors knew about the harassment but did not engage

in prompt, remedial measures l also experienced sexual harassment from a

co-worker. l complained but no action was taken against this individual.

l believe I have been discriminated against because of my sex, female, in
violation of Title VII ofthe Civil Rights Act of l964, as amended

(Def.’s Mem., Ex. H.) The charge was dismissed and a Notice of Right to Sue issued
immediately, on August 2l, 2003.

Plaintiff further testified that in October 2003, her line leader, J.J. Jacob, said that “he
was going to rip my clothes off. He called me a bitch and told me that he could [f****] the
[s* 7“"‘] out ofme.” Plaintiffsaid nothing and walked away. (Pl.’s Dep. at 132-35, 150-51.)
Plaintiff did not report this incident to anyone. (Pl.’s Dep. at 132-35, l56.)

In order for the Court to have jurisdiction over a Title VII claim, the plaintiff must

first exhaust administrative remedies. Ang v. Procter & Gamble Co., 932 F.2d 540, 545 (6th

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Cir. 1991) (citing Love v. Pullman Co., 404 U.S. 522 (1972)). However, a Title Vll
complaint is not “1imited to the exact words of the EEOC charge, but to the scope of the
EEOC investigation reasonably expected to grow out of the charge of discrimination.”
Farmer v. ARA Serv., Inc._ 660 F.2d 1096, 1105 (6th Cir. 1981); see also Abeita v.
Transamerica Mailings. lnc., 159 F.3d 246, 254 (6th Cir. 1998).

ln plaintiff’s EEOC charge, filed on August 19, 2003, she alleged that she had been
sexually harassed by a single unnamed co-worker, specifically referring to “this individual.”
(Def.’s Mem., Ex. H.) However, the complaint in this case alleges that plaintiff was
harassed by three different individuals:

During plaintiffs employment, she was continuously harassed by the

defendant Lemire was subjected to lewd comments, unwanted sexual

advances, by Allen [sic] Leonard, Corey Porter and Jessie [sic] James Jacob.”
(Compl. ‘,l 8.) The complaint does not allege an exact time frame for any of the incidents of
harassment

Plaintiff testified in her deposition that she was harassed by Jacob on only one
occasion, in October 2003. (Pl.’s Dep. at 132-35, 150-51.) This was well after she filed her
EEOC charge on August 19, 2003. Thus, any EEOC investigation “reasonably expected to
grow out of the charge” could not have included the alleged conduct by Jacob. There is no

evidence that plaintiff has ever made the alleged harassment by Jacob the subject of an

EEOC charge. Therefore, plaintiffs claims arising out of Jacob’s alleged conduct in

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October 2003 are not actionable under Title \/ll.2 The claims will be addressed on the
merits, however, as plaintiff has also alleged a violation of the THRA.

Title \/II3 provides that an employer may not lawfully “discriminate against any
individual with respect to his [or her] compensation, terms, conditions, or privileges of
employment, because of such individual’s . . . sex . . . .” 42 U.S.C. § 2000e-2(a)(1). The
“terms, conditions, and privileges of employment” may include requiring a person to work
in a discriminatorily hostile or abusive environment Meritor Sav. Bankv. Vinson, 477 U.S.
57, 64 (1986). However, such harassment is actionable only “[w]hen the workplace is
permeated with discriminatory intimidation, ridicule, and insult” that is “sufficiently severe
or pervasive to alter the conditions of the victim’s employment and create an abusive
working environment.” 477 U.S. at 65 & 67 (internal brackets and quotation marks
omitted). See also Faragher v. Citv of Boca Raton. 524 U.S. 775, 787-88 (1998);QL1M
v. Sundowner Offshore Serv.. lnc., 523 U.S. 75, 78 (1998).

In order to establish a hostile work environment claim against an employer the
plaintiff must show: (1) membership in a protected class; (2) subjection to unwanted

harassment; (3) that the harassment was based on protected-class membership; (4) that it

 

2 Plaintiff also testified in her deposition that she was sexually harassed by two other individuals, Chris and
Travis. However, plaintiff has failed to include in the complaint any allegations regarding harassment by these
individuals, and they will not be considered by the Court. B Peake v. Brownlee, 339 F. Supp. 2d 1008, 1013 n.5
(l\/l.D. Tenn. 2003).

3 The Tennessee Suprerne Court has stated that the THRA generally is to be viewed as “coextensive with
federal law” and that the legal analysis under the statute generally is the same as that under Title VII. _Sg Parker v.
Warren County Util. Dist., 2 S.W.3d 170, 172-73 (Tenn. 1999); Bennett v. Steiner-Liff lron & Metal Co., 826
S.W.2d 119, 121 (Tenn. 1992).

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unreasonably interfered with the plaintiffs work performance, creating a hostile work
environment; and (5) the existence of employer liability. See Fleenor v. Hewitt Soan Co.,
81 l~`.3d 48, 49 (6"‘ Cir. 1996); Rabidue v. Osceola Refining Co., 805 F.2d 61],619-20(6th
Cir. 1986). Withe regard to the fifth element, when the sexual harassment claim is based on
the actions of a co-worker, the employer is liable if the employer knew or should have
known of the conduct, unless it can show that it took immediate and appropriate corrective
action. Blankenshin v. Parke Care Ctrs.. Inc., 123 F.3d 868, 873 (6th Cir. 1997);_1M,
81 F.3d at 50; Pierce v. Commonwealth Life lns, Co., 40 F.3d 796, 804 (6th Cir. 1994).
The defendant first argues that summary judgment should be granted because the
plaintiff cannot show that the harassment of which she complains was sufficiently severe or
pervasive to alter the conditions of her working environmentl In Harris v. Forklift Svs., Inc.,

510 U.S. 17 (1993), the Supreme Court reaffirmed the holding of Meritor, explaining that

 

the work environment must be both objectively hostile or abusive, i. e. , one that a reasonable
person would find hostile or abusive-and one that the victim subjectively perceives as
abusive 510 U.S. at 21 . “This standard takes a middle path between making actionable any
conduct that is merely offensive and requiring the conduct to cause a tangible psychological
injury.” I_d.

ln Williams v. General l\/lotors Corn., 187 F.3d 553 (6th Cir.1999), the Court of
Appeals affirmed a “totality of the circumstances” approach, stating that “the issue is not

whether each incident of harassment standing alone is sufficient to sustain the cause of

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action in a hostile environment case, but whetheretaken together`the reported incidents
make out such a case.” 187 F.3d at 562. See also Burnettv. Tyco Corp., 203 F.2d 980, 982-
83 (6lh Cir. 2000). “lsolated incidents, however, unless extremely serious, will not amount
to discriminatory changes in the terms or conditions ofemployment.” Bowman v. Shawnee
State Univ., 220 F.3d 456, 463 (6th Cir. 2000). Relevant factors “may include the frequency
of the discriminatory conduct; its severity; whether it is physically threatening or
humiliating, or a mere offensive utterance; and whether it- unreasonably interferes with an
employee’s work performance.” Ms, 510 U.S. at 23. See also Faragher, 524 U.S. at
787-88. Title Vll is not a “general civility code for the American workplace.” m:tt, 203
F.3d at 982.

ln this case, between February 2003 and the filing of the complaint in November
2003, plaintiff testified that she had been harassed on six occasions; twice by Porter, three
times by Leonard and once by Jacob. In only one of these incidents was plaintiff touched,
and that was when Porter put his arm around her on July 17, 2003. There is no evidence that
plaintiff considered this incident at all physically threatening or humiliating The other
incidents were verbal only, involving crude, offensive comments such as “nice ass,”
statements by both Porter and Jacob about having sex with plaintiff, and Jacob’s reference
to plaintiff as a bitch. There is no evidence that these incidents unreasonably interfered with
plaintiff"s work performance

The Court finds that plaintiff has failed to establish a genuine issue of material fact

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regarding whether the harassment in this case was sufficiently severe or pervasive to alter
the conditions of her working environment

Defendant next argues that even if the harassment could be considered severe or
pervasive, the plaintiff cann ot show that she subjectively regarded her working environment
as abusive There are affidavits in the record from some of plaintiffs co-workers in which
it is stated that plaintiff herself frequently engaged in sexually explicit conversation at work.
(Dunaway Aff.; Walker Aff.; King Aff.). Plaintiff admits that she was disciplined for
sexually explicit language on one occasion, (Def.’s Mem., Ex. O), but denies that it was
something she frequently talked about at work. (Pl.’s Dep. at 93-102.) Given this
testimony, the Court finds that there are genuine issues of material fact regarding whether
plaintiff subjectively regarded her working environment as abusive

Defendant further contends that summary judgment should be granted because
plaintiff cannot demonstrate that there are material facts in dispute regarding whether the
defendant knew or should have known of the alleged harassment and failed to take
appropriate corrective action.

As stated supra, the first incident of harassment complained of is the incident with
Corey Porter in February 2003. In her deposition, plaintiff first testified that she did not
report the incident, (Pl.’s Dep. at 131), but when the deposition was resumed several days
later, she altered her testimony, stating that she reported the incident at the time it happened

to Paula Hughes in Human Resources. (Pl.’s Dep. at 179.) The latter statement is

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contradicted by Hughes’ affidavit, in which she states that she did not begin working at the
defendant’s Selmer facility until March 17 or 18, 2003, and that plaintiff never made any
reports of sexual harassment to her. (Hughes Aff. 1111 1, 5.)

ln response to the defendant’s motion for summary judgment, plaintiff has now
submitted her affidavit, in which she states that she reported the February 2003 incident with
Porter to Donna Butler, another former Human Resources Manager. (Pl.’s Aff. 1l 5.)
However, the affidavit of defendant’ s Payroll and Benefits Administrator, Tina Churchwell,.
indicates that Butler left the defendant’ s employment in October 2002. (2"“' Churchwell Aff.
11 3 .) Thus, it appears that plaintiff could not have reported the Porter incident to Butler in
February 2003.

ln light of this strong evidence that neither Hughes nor Butler was employed by the
defendant in February 2003, plaintiffs repeated alteration of her testimony about reporting
Porter’s harassment is insufficient to overcome her original testimony that she did not, in
fact, report this incident

As to the alleged harassment by Alan Leonard in April 2003, plaintiff testified in her
deposition that she reported the April 2 incident to Paula Hughesl (Pl.’s Dep. at 1 1 1-14.)
Again, this statement is contradicted by Hughes’ affidavit, which indicates that plaintiff
never reported any sexual harassment to her. (Hughes Aff. 11 5.) Plaintiffs testimony also
is contradicted by her own diary entry regarding this incident, a copy of which she submitted

to the EEOC in support of her charge of discrimination (Simpson Aff., Ex. 2; Pl.’s Aff.,

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Ex. 2.) A party may not create a genuine issue ofmaterial fact by contradicting statements
given to the EEOC. See l\/lartin v. Boeing-Oak Ridge Co., 244 F. Supp. 2d 863, 873 n.6
(E.D. Tenn. 2002). ln her diary entry plaintiff wrote only that she reported the April 2
incident to her line leader, lacob. I_d. Jacob was not a supervisory employee with the ability
to take corrective action See Brown v. Signal l\/lt. Nurserv, 286 F. Supp. 2d 904, 916-17
(E.D. Tenn. 2003).

Plaintifftestified in her deposition that the April 16, 2003 incident with Leonard was
reported only to Jacob. (Pl.’s Dep. at 117-18). She testified that the last incident with
Leonard, which occurred on April 29, 2003, was reported to Ivey on July 15, 2003. (Pl.’s
Dep. at 122.)4 ivey promptly investigated, warning Leonard that such actions would not be
tolerated and that any future misconduct would lead to disciplinary action (lvey Aff.
int 11~13.)

Plaintiff again attempts to bolster her claim with her affidavit, in which she now
states that she reported each of the April incidents with Leonard to her supervisor, lason
Rodotz, when they occurred. (Pl.’s Aff. 11 10.) However, “a party cannot create a genuine
issue of material fact by filing an affidavit, after a motion for summary judgment has been
made, that essentially contradicts his earlier deposition testimony.” Penny v. United Parcel

Serv., 128 F.3d 408, 415 (6th Cir. 1997). Therefore, this assertion in plaintiffs affidavit

 

 

4 Plaintiff testified that she reported the April 29 incident with Alan Leonard to Ivey. However, lvey’s
affidavit contains a description of the incident reported by plaintiff, and it appears that she may have reported the
April 2 incident rather than the one occurring on April 29.

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cannot be considered

Discounting plaintiffs improper attempts to alter her statements, the Court finds that
plaintiff has failed to demonstrate that she reported Leonard’s harassment to anyone in a
supervisory position before bringing it to lvey’s attention on July 15, 2003.

On July 17, 2003, plaintiff reported to Ivey that Porter had put his arm around her.
Ivey immediately investigated and warned Porter not to touch plaintiff again (lvey Aff.
1111 16-18.) The last incident, involving J.J. Jacob, was never reported to anyone (Pl.’s Dep.
at 132-35, 156.)

The competent evidence in the record shows that on the only two occasions that
plaintiff reported to Ivey that she had been sexually harassed, he took prompt and effective
corrective action Therefore, the material facts are not in dispute on this element of
plaintiffs claim.

Plaintiff has failed to demonstrate that the alleged sexual harassment was sufficiently
severe or pervasive to alter the conditions of her working environment She also has failed
to show that the defendant knew or should have known of the alleged harassment but failed
to take corrective action Thus, the Court concludes that the defendant is entitled to
judgment as a matter of law on plaintiffs Title Vll and THRA claims.

Finally, the defendant also seeks summary judgment on plaintiffs state law claim of
intentional or reckless infliction of emotional distress. Under Tennessee law, the elements

of a claim for intentional infliction of emotional distress are: (1) the conduct complained

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of must be intentional or reckless, (2) it must be so outrageous that it is not tolerated by a
civilized society, and (3) it must result in serious mental injury. Lvons v. Farmers lns. Exch.,
26 S.W.3d 888, 893 (Tenn Ct. App. 2000) (citing Bain v. Wells, 936 S.W.2d 618, 622
(Tenn. 1997)).

The Tennessee Courts have quoted approvingly from this passage ofthe Restatement
(Second) ofTorts, § 46 cmt. d:

lt has not been enough that the defendant has acted with an intent which is

tortious or even criminal, or that he has intended to inflict emotional distress,

or even that his conduct is characterized by ‘malice’, or a degree of

aggravation which would entitle the plaintiff to punitive damages for another

tort. Liability has been found only where the conduct has been so outrageous

in character, and so extreme in degree, as to go beyond all bounds of decency,

and to be regarded as atrocious, and utterly untolerable in a civilized

communityl Generally, the case is one in which the recitation of the facts to

an average member of the community would arouse his resentment against the

actor, and lead him to exclaim, ‘Outrageous.’
See, e.g., Bain, 936 S.W.2d at 622-23; Dunn v. Moto Photo1 Inc., 828 S.W.2d 747, 751
(Tenn. Ct. App. 1991). “Liability for mental distress injuries ‘does not extend to mere
insults, indignities, threats, annoyances, petty oppression or other trivialities.”’ Arnett v.
Domino’s Pizza I. L.L.C., 124 S.W.3d 529, 539 (Tenn. Ct. App. 2003) (quoting Medlin v.
Allied lnv. Co., 398 S.W.2d 270, 274 (Tenn. 1966)).

The Court finds that the defendant’s conduct in this case does not rise to the level
necessary to support a claim for intentional or reckless infliction of emotional distress

Plaintiffs claim is brought only against the company, not her individual co-workers. The

evidence shows that each time plaintiff properly reported sexual harassment, corrective

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action was taken There is no evidence whatsoever that any supervisory or management
employee acted intentionally or recklessly to cause plaintiff emotional distress

The Court concludes that the defendant also is entitled to judgment as a matter of law
on plaintiffs claim of intentional or reckless infliction of emotional distress.

F or all of the foregoing reasons, the defendant’s motion for summary judgment is
GRANTED in its entirety The Clerk of Court is directed to prepare a judgment

IT lS SO ORDERED.

JAM D. TODD
UNI D STATES DISTRICT JUDGE

/§'W;?&‘OS’

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 1:03-CV-01304 was distributed by fax, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

